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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DAVID LEIBOWITZ, et al.,
                              Plaintiffs,           19 Civ. 9236; 20 Civ. 169; 20
                       -v.-                                 Civ. 211 (KPF)
IFINEX INC., et al.,                                   SCHEDULING ORDER
                              Defendants.


ERIC YOUNG, et al.,
                              Plaintiffs,
                       -v.-
IFINEX INC., et al.,

                              Defendants.


BRYAN FAUBUS,
                              Plaintiff,
                       -v.-
IFINEX INC., et al.,

                              Defendants.



KATHERINE POLK FAILLA, District Judge:

      The Court is in receipt of the parties’ joint motion in the above-captioned

cases, seeking to consolidate the matters, set a briefing schedule for motions to

appoint interim lead counsel, and adjourn the current deadline for Defendants

in Leibowitz v. iFinex, Inc., No. 19 Civ. 9236 to file a motion to dismiss.

      The Court will address the parties’ motion to consolidate after it receives

Plaintiff’s letter in Ebanks v. iFinex, Inc., 20 Civ. 453, letter regarding the same.
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      All counsel seeking to be heard regarding the pending motions to appoint

lead interim counsel shall file their papers on or before January 27, 2020. No

later than seven days after the appointment of interim lead counsel, counsel for

Defendants and interim lead counsel for Plaintiffs shall submit a proposed

scheduling order setting forth deadlines for the filing of a consolidated

amended complaint and any anticipated motion to dismiss.

      The briefing schedule concerning an anticipated motion to dismiss in

Leibowitz v. iFinex, Inc., No. 19 Civ. 9236 is hereby ADJOURNED sine die.

      SO ORDERED.

Dated:       January 17, 2020
             New York, New York             __________________________________
                                                 KATHERINE POLK FAILLA
                                                United States District Judge




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